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 6                              UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                      ) 2:11-CR-434-LDG-(PAL)
                                                    )
 9                          Plaintiff,              )
                                                    )
10           v.                                     ) Final Order of Forfeiture
                                                    )
11   EDUARD PETROIU,                                )
     VLADIMIR BUDESTEAN,                            )
12   BERTLY ELLAZAR,                                )
     EVGHENII RUSSU,                                )
13   EVGENY KRYLOV,                                 )
     DELYANA NEDYALKOVA,                            )
14   MELANIE PASCUA,                                )
     MANUEL GARZA, and                              )
15   MICHAEL VALES,                                 )
                                                    )
16                          Defendants.             )
17          The United States District Court for the District of Nevada entered a Preliminary Order of

18 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

19 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States
20 Code, Section 853(p) based upon the plea of guilty by defendant Eduard Petroiu to the criminal

21 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment

22 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

23 Indictment and shown by the United States to have the requisite nexus to the offense to which

24 defendant Eduard Petroiu pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea

25 Agreement, ECF No. 452; Change of Plea, ECF No. 470; Preliminary Order of Forfeiture, ECF
26 No. 475.




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 1          The United States District Court for the District of Nevada entered a Preliminary Order of

 2 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

 3 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

 4 Code, Section 853(p) based upon the plea of guilty by defendant Evgeny Krylov to the criminal

 5 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment

 6 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

 7 Indictment and shown by the United States to have the requisite nexus to the offense to which

 8 defendant Evgeny Krylov pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea
 9 Agreement, ECF No. 454; Change of Plea, ECF No. 469; Preliminary Order of Forfeiture, ECF

10 No. 476.

11          The United States District Court for the District of Nevada entered a Preliminary Order of

12 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

13 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

14 Code, Section 853(p) based upon the plea of guilty by defendant Vladimir Budestean to the

15 criminal offense, forfeiting the property and imposing an in personam criminal forfeiture money

16 judgment set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding

17 Criminal Indictment and shown by the United States to have the requisite nexus to the offense to

18 which defendant Vladimir Budestean pled guilty. Superseding Criminal Indictment, ECF No.

19 243; Plea Agreement, ECF No. 456; Change of Plea, ECF No. 471; Preliminary Order of
20 Forfeiture, ECF No. 474.

21          The United States District Court for the District of Nevada entered a Preliminary Order of

22 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

23 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

24 Code, Section 853(p) based upon the plea of guilty by defendant Bertly Ellazar to the criminal

25 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment
26 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

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 1 Indictment and shown by the United States to have the requisite nexus to the offense to which

 2 defendant Bertly Ellazar pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea

 3 Agreement, ECF No. 458; Change of Plea, ECF No. 477; Preliminary Order of Forfeiture, ECF

 4 No. 486.

 5          The United States District Court for the District of Nevada entered a Preliminary Order of

 6 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

 7 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

 8 Code, Section 853(p) based upon the plea of guilty by defendant Delyana Nedyalkova to the
 9 criminal offense, forfeiting the property and imposing an in personam criminal forfeiture money

10 judgment set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding

11 Criminal Indictment and shown by the United States to have the requisite nexus to the offense to

12 which defendant Delyana Nedyalkova pled guilty. Superseding Criminal Indictment, ECF No.

13 243; Plea Agreement, ECF No. 461; Change of Plea, ECF No. 481; Preliminary Order of

14 Forfeiture, ECF No. 514.

15          The United States District Court for the District of Nevada entered a Preliminary Order of

16 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

17 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

18 Code, Section 853(p) based upon the plea of guilty by defendant Melanie Pascua to the criminal

19 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment
20 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

21 Indictment and shown by the United States to have the requisite nexus to the offense to which

22 defendant Melanie Pascua pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea

23 Agreement, ECF No. 463; Change of Plea, ECF No. 478; Preliminary Order of Forfeiture, ECF

24 No. 485.

25          The United States District Court for the District of Nevada entered a Preliminary Order of

26 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

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 1 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

 2 Code, Section 853(p) based upon the plea of guilty by defendant Evghenii Russu to the criminal

 3 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment

 4 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

 5 Indictment and shown by the United States to have the requisite nexus to the offenses to which

 6 defendant Evghenii Russu pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea

 7 Agreement, ECF No. 465; Change of Plea, ECF No. 480; Preliminary Order of Forfeiture, ECF

 8 No. 517.
 9          The United States District Court for the District of Nevada entered a Preliminary Order of

10 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

11 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

12 Code, Section 853(p) based upon the plea of guilty by defendant Michael Vales to the criminal

13 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment

14 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

15 Indictment and shown by the United States to have the requisite nexus to the offense to which

16 defendant Michael Vales pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea

17 Agreement, ECF No. 467; Change of Plea, ECF No. 479; Preliminary Order of Forfeiture, ECF

18 No. 484.

19          The United States District Court for the District of Nevada entered a Preliminary Order of

20 Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

21 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); and Title 21, United States

22 Code, Section 853(p) based upon the plea of guilty by defendant Manuel Garza to the criminal

23 offense, forfeiting the property and imposing an in personam criminal forfeiture money judgment

24 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

25 Indictment and shown by the United States to have the requisite nexus to the offense to which
26 defendant Manuel Garza pled guilty. Superseding Criminal Indictment, ECF No. 243; Plea

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 1 Agreement, ECF No. 472; Change of Plea, ECF No. 483; Preliminary Order of Forfeiture, ECF

 2 No. 487.

 3          This Court finds the United States of America published the notice of forfeiture as to

 4 Eduard Petroiu, Vladimir Budestean, and Evgeny Krylov in accordance with the law via the

 5 official government internet forfeiture site, www.forfeiture.gov, consecutively from November

 6 30, 2013, through December 29, 2013, and from February 11, 2014, through March 12, 2014,

 7 notifying all potential third parties of their right to petition the Court. Notice of Filing Proof of

 8 Publication, ECF Nos. 495 and 560.
 9          This Court finds the United States of America published the notice of forfeiture as to

10 Michael Vales, Bertly Ellazar, Melanie Pascua, and Manuel Garza in accordance with the law

11 via the official government internet forfeiture site, www.forfeiture.gov, consecutively from

12 December 10, 2013, through January 8, 2014, and from February 11, 2014, through March 12,

13 2014, notifying all potential third parties of their right to petition the Court. Notice of Filing

14 Proof of Publication, ECF Nos. 503 and 559.

15          This Court finds the United States of America published the notice of forfeiture as to

16 Evghenii Russu and Delyana Nedyalkova in accordance with the law via the official government

17 internet forfeiture site, www.forfeiture.gov, consecutively from February 4, 2014, to March 5,

18 2014, notifying all potential third parties of their right to petition the Court. Notice of Filing

19 Proof of Publication, ECF No. 635.
20          This Court finds the United States of America notified known third parties by personal

21 service, or by regular mail and certified mail return receipt requested, of their right to petition the

22 Court. Notice of Filing Service of Process – Personal Service, ECF Nos. 567, 568, 569, 570, 571,

23 572, 573, 574, 575, 576, 577, 578, 579, 610, 612; Notice of Filing Service of Process – Mailing,

24 ECF Nos. 621 and 625.

25          On March 25, 2014, the United States Marshals Service personally served Clark County

26 Water Reclamation District c/o Diana Alba, County Clerk, with copies of the Preliminary Orders

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 1 of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF No.

 2 567.

 3           On March 25, 2014, the United States Marshals Service personally served General

 4 Counsel Gregory J. Walch, Las Vegas Valley Water District, with copies of the Preliminary

 5 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF

 6 No. 568.

 7           On March 25, 2014, the United States Marshals Service personally served Mary Beth

 8 Scow, President, Las Vegas Valley Water District, with copies of the Preliminary Orders of
 9 Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF No. 569.

10           On March 25, 2014, the United States Marshals Service personally served General

11 Counsel Gregory J. Walch, Southern Nevada Water Authority, with copies of the Preliminary

12 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF

13 No. 570.

14           On March 25, 2014, the United States Marshals Service personally served John

15 Entsminger, General Manger, Las Vegas Valley Water District, with copies of the Preliminary

16 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF

17 No. 571.

18           On March 25, 2014, the United States Marshals Service personally served John

19 Entsminger, General Manager, Southern Nevada Water Authority, with copies of the Preliminary
20 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF

21 No. 572.

22           On March 24, 2014, the United States Marshals Service personally served Mariya

23 Yunkerova-Nedyalkova with copies of the Preliminary Orders of Forfeiture and the Notice.

24 Notice of Filing Service of Process – Personal Service, ECF No. 573.

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 1          On March 24, 2014, the United States Marshals Service personally served Atanas

 2 Nedyalkov with copies of the Preliminary Orders of Forfeiture and the Notice. Notice of Filing

 3 Service of Process – Personal Service, ECF No. 574.

 4          On March 24, 2014, the United States Marshals Service personally served Herbert Sachs,

 5 Attorney for Atanas Nedyalkov and Mariya Yunkerova-Nedyalkova, with copies of the

 6 Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal

 7 Service, ECF No. 575.

 8          On March 25, 2014, the United States Marshals Service personally served Debbie

 9 Conway, Clark County Recorder, with copies of the Preliminary Orders of Forfeiture and the

10 Notice. Notice of Filing Service of Process – Personal Service, ECF No. 576.

11          On March 25, 2014, the United States Marshals Service personally served Michele W.

12 Shafe, Clark County Assessor, with copies of the Preliminary Orders of Forfeiture and the

13 Notice. Notice of Filing Service of Process – Personal Service, ECF No. 577.

14          On March 25, 2014, the United States Marshals Service personally served Clark County

15 Board of Commissioners c/o Diana Alba, Clark County Clerk, with copies of the Preliminary

16 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF

17 No. 578.

18          On March 25, 2014, the United States Marshals Service personally served Diana Alba,

19 County Clerk, with copies of the Preliminary Orders of Forfeiture and the Notice. Notice of
20 Filing Service of Process – Personal Service, ECF No. 579.

21          On April 2, 2014, the United States Marshals Service personally served District Attorney

22 Steven B. Wolfson, Clark County District Attorney’s Office, with copies of the Preliminary

23 Orders of Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF

24 No. 610.

25          On April 2, 2014, the United States Marshals Service personally served Larry Brown,

26 Chairman, Clark County Water Reclamation District, with copies of the Preliminary Orders of

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 1 Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF No. 610-

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 3           On April 2, 2014, the United States Marshals Service personally served City Attorney

 4 Bradford Jerbic, City of Las Vegas Attorney’s Office, with copies of the Preliminary Orders of

 5 Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF No. 610-

 6 1.

 7           On April 2, 2014, the United States Marshals Service personally served Beverly Bridges,

 8 City Clerk, City of Las Vegas Clerk’s Office, with copies of the Preliminary Orders of Forfeiture
 9 and the Notice. Notice of Filing Service of Process – Personal Service, ECF No. 610-2.

10           On April 2, 2014, the United States Marshals Service personally served City of Las

11 Vegas Sewer c/o Beverly Bridges, City Clerk, with copies of the Preliminary Orders of

12 Forfeiture and the Notice. Notice of Filing Service of Process – Personal Service, ECF No. 610-

13 2.

14           On June 10, 2014, the United States Marshals Service personally served Sonya Mahiai

15 with copies of the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of

16 Process – Personal Service, ECF No. 612.

17           On April 8, 2014, the United States Attorney’s Office served Acela Rangel Martinez with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

19 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20           On April 8, 2014, the United States Attorney’s Office served Aimee Garcia with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23           On April 8, 2014, the United States Attorney’s Office served Allen Johnson with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1           On April 8, 2014, the United States Attorney’s Office served Allen Flagg with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 3 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4           On April 8, 2014, the United States Attorney’s Office served Amika Mak with copies of

 5 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 6 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7           On April 8, 2014, the United States Attorney’s Office served Anne Devine with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return
 9 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10           On April 8, 2014, the United States Attorney’s Office served Billy Perkins with copies of

11 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

12 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13           On April 8, 2014, the United States Attorney’s Office served Bonnie Kay Ayers with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

15 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16           On April 8, 2014, the United States Attorney’s Office served Brandon Pope with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19           On April 8, 2014, the United States Attorney’s Office served Brent Buchwalter with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

21 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22           On April 8, 2014, the United States Attorney’s Office served Brian Jennings with copies

23 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

24 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 8, 2014, the United States Attorney’s Office served Charles Shumway with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 8, 2014, the United States Attorney’s Office served Brenda Miller with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 8, 2014, the United States Attorney’s Office served Cheryl Moates with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 8, 2014, the United States Attorney’s Office served Christopher Wotring with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

12 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 8, 2014, the United States Attorney’s Office served Crystal Ortega with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

15 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 9, 2014, the United States Attorney’s Office served Christopher Ulmer with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

18 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 9, 2014, the United States Attorney’s Office served Craig Schniers with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

21 was returned to our offices after three attempts. Notice of Filing Service of Process – Mailing,

22 ECF No. 621.

23          On April 9, 2014, the United States Attorney’s Office served Curtis Aytes with copies of

24 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

25 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 9, 2014, the United States Attorney’s Office served Dan Smith with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 3 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 9, 2014, the United States Attorney’s Office served Denise Davis with copies of

 5 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 6 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 9, 2014, the United States Attorney’s Office served Dick Guthrie with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return
 9 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 9, 2014, the United States Attorney’s Office served Doniyell Curtis with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 9, 2014, the United States Attorney’s Office served David McDarby with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

15 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 9, 2014, the United States Attorney’s Office served Dean Schneider with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 9, 2014, the United States Attorney’s Office served Denise Dulaney with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

21 was returned to our offices after three attempts. Notice of Filing Service of Process – Mailing,

22 ECF No. 621.

23          On April 9, 2014, the United States Attorney’s Office served Diego Lopez with copies of

24 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

25 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 9, 2014, the United States Attorney’s Office served Dorlena Bernard with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 9, 2014, the United States Attorney’s Office served Edwin Ruiz with copies of

 5 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 6 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 9, 2014, the United States Attorney’s Office served Elmer Rothman with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 9, 2014, the United States Attorney’s Office served Elvir Mujagic with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 9, 2014, the United States Attorney’s Office served Eric Willis with copies of

14 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

15 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 9, 2014, the United States Attorney’s Office served Edward Parker with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 9, 2014, the United States Attorney’s Office served Elsa Fandino with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was

21 returned to our offices after three attempts. Notice of Filing Service of Process – Mailing, ECF

22 No. 621.

23          On April 9, 2014, the United States Attorney’s Office served Enrique Castro with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 9, 2014, the United States Attorney’s Office served Eric Turnquist with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 9, 2014, the United States Attorney’s Office served Erich Brugmann with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 9, 2014, the United States Attorney’s Office served Ericka Rivera with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 9, 2014, the United States Attorney’s Office served Frank Lovell with copies of

11 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

12 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 9, 2014, the United States Attorney’s Office served Gabriela Martinez with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

15 mail was returned to our offices marked “unclaimed.” Notice of Filing Service of Process –

16 Mailing, ECF No. 621.

17          On April 9, 2014, the United States Attorney’s Office served Gary Giarruso with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

19 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 9, 2014, the United States Attorney’s Office served Ernest McCante with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 9, 2014, the United States Attorney’s Office served Faye Bea with copies of the

24 Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

25 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 9, 2014, the United States Attorney’s Office served Francis Harris with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 9, 2014, the United States Attorney’s Office served Fred Burch with copies of

 5 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was

 6 returned to our offices after three attempts. Notice of Filing Service of Process – Mailing, ECF

 7 No. 621.

 8          On April 9, 2014, the United States Attorney’s Office served Garrett Walker with copies

 9 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

10 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

11          On April 9, 2014, the United States Attorney’s Office served Gene Samuels with copies

12 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

13 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On April 9, 2014, the United States Attorney’s Office served Glenn Kiser with copies of

15 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

16 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 9, 2014, the United States Attorney’s Office served Greg Fults with copies of

18 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

19 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 9, 2014, the United States Attorney’s Office served Hector Panduro with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 9, 2014, the United States Attorney’s Office served Isaac Rodriguez with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 9, 2014, the United States Attorney’s Office served Gloria Hart with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 3 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 9, 2014, the United States Attorney’s Office served Holly Wyrick with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 9, 2014, the United States Attorney’s Office served Isaac Helig with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return
 9 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 9, 2014, the United States Attorney’s Office served Ismelda Ochoa with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 9, 2014, the United States Attorney’s Office served James Kochenderfer with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

15 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 9, 2014, the United States Attorney’s Office served James Leslie with copies of

17 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

18 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 9, 2014, the United States Attorney’s Office served James Rice with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

21 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 9, 2014, the United States Attorney’s Office served Jamie Fret with copies of

23 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

24 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 9, 2014, the United States Attorney’s Office served James Schramer with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 9, 2014, the United States Attorney’s Office served Jacqueline Scott with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 9, 2014, the United States Attorney’s Office served Jarod Luginbill with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 9, 2014, the United States Attorney’s Office served Jazmin Albarran with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

12 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

13 Mailing, ECF No. 621.

14          On April 9, 2014, the United States Attorney’s Office served Jeannine Lillard with copies

15 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

16 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 9, 2014, the United States Attorney’s Office served Jeffrey Torres with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

19 was returned to our offices marked “unclaimed.” Notice of Filing Service of Process – Mailing,
20 ECF No. 621.

21          On April 9, 2014, the United States Attorney’s Office served Jennifer Alexander with

22 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

23 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

24          On April 9, 2014, the United States Attorney’s Office served Jesse Rizo with copies of

25 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was
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 1 returned to our offices as “unclaimed.” Notice of Filing Service of Process – Mailing, ECF No.

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 3          On April 9, 2014, the United States Attorney’s Office served Jimmy Farmer with copies

 4 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 5 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 6          On April 9, 2014, the United States Attorney’s Office served Joe Falleur with copies of

 7 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 8 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
 9          On April 9, 2014, the United States Attorney’s Office served Joe Fischer with copies of

10 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

11 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

12          On April 9, 2014, the United States Attorney’s Office served John Aguilar with copies of

13 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

14 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

15          On April 9, 2014, the United States Attorney’s Office served John Blair with copies of

16 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

17 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

18          On April 11, 2014, the United States Attorney’s Office served John Blankenship with

19 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
20 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

21          On April 11, 2014, the United States Attorney’s Office served John Sharkey with copies

22 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

23 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

24          On April 11, 2014, the United States Attorney’s Office served Jonathan Conroy with

25 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
26 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 11, 2014, the United States Attorney’s Office served Jorge Bravo with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was

 3 returned to our offices marked “unclaimed.” Notice of Filing Service of Process – Mailing, ECF

 4 No. 621.

 5          On April 11, 2014, the United States Attorney’s Office served Jorge Coneo with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 7 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On April 11, 2014, the United States Attorney’s Office served Jose DeJesus Castellon with

 9 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

10 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

11          On April 11, 2014, the United States Attorney’s Office served Joshua Wallace with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

13 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On April 11, 2014, the United States Attorney’s Office served Judy Groves with copies

15 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

16 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 11, 2014, the United States Attorney’s Office served Kanesha Polk with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

19 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 11, 2014, the United States Attorney’s Office served Katie Hollis with copies of

21 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

22 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 11, 2014, the United States Attorney’s Office served Keith Chesser with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 11, 2014, the United States Attorney’s Office served Kellie Marie Sampson

 2 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

 3 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

 4 621.

 5          On April 11, 2014, the United States Attorney’s Office served Kenneth Bagwell with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 7 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On April 11, 2014, the United States Attorney’s Office served Khachik Ashimyan with

 9 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

10 mail was returned to our offices after two attempts. Notice of Filing Service of Process –

11 Mailing, ECF No. 621.

12          On April 11, 2014, the United States Attorney’s Office served Kimberly Rodriguez with

13 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

14 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

15 Mailing, ECF No. 621.

16          On April 11, 2014, the United States Attorney’s Office served Konya Miles with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

18 was returned to our offices marked “unclaimed.” Notice of Filing Service of Process – Mailing,

19 ECF No. 621.
20          On April 11, 2014, the United States Attorney’s Office served Kurtis Bednarcyk with

21 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

22 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 11, 2014, the United States Attorney’s Office served Larry Looney with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 11, 2014, the United States Attorney’s Office served Latonia Rubin with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

 3 was not returned to our offices. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 11, 2014, the United States Attorney’s Office served Laurie Meyer with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 11, 2014, the United States Attorney’s Office served Leonard Kraus, Jr., with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 11, 2014, the United States Attorney’s Office served Lia Baylor with copies of

11 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

12 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 14, 2014, the United States Attorney’s Office served Luis Cairo with copies of

14 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

15 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 14, 2014, the United States Attorney’s Office served Luis Huerta with copies of

17 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

18 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 14, 2014, the United States Attorney’s Office served Lula Cunningham with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

21 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

22 Mailing, ECF No. 621.

23          On April 14, 2014, the United States Attorney’s Office served Lynn Martina with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 14, 2014, the United States Attorney’s Office served Marjorie Schall with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

 3 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

 4 Mailing, ECF No. 621.

 5          On April 14, 2014, the United States Attorney’s Office served Marcin Mazur with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 7 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On April 14, 2014, the United States Attorney’s Office served Margo Larie with copies

 9 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

10 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

11          On April 14, 2014, the United States Attorney’s Office served Mark Brown with copies

12 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

13 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On April 14, 2014, the United States Attorney’s Office served Mark Lee with copies of

15 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

16 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 14, 2014, the United States Attorney’s Office served Marty Hurtgen with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

19 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 14, 2014, the United States Attorney’s Office served Mary Prater with copies of

21 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

22 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 14, 2014, the United States Attorney’s Office served Mary Quinnelly with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

25 mail was returned to our offices after three attempts. Notice of Filing Service of Process –
26 Mailing, ECF No. 621.

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 1          On April 14, 2014, the United States Attorney’s Office served Maurice Rodriguez with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 14, 2014, the United States Attorney’s Office served Melissa Vasseur with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 14, 2014, the United States Attorney’s Office served Michael A. Grzanke with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified
 9 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

10 Mailing, ECF No. 621.

11          On April 14, 2014, the United States Attorney’s Office served Michael Bessesen with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

13 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On April 14, 2014, the United States Attorney’s Office served Michael Dahle with copies

15 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

16 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 14, 2014, the United States Attorney’s Office served Michael Lucas with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

19 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 14, 2014, the United States Attorney’s Office served Michael Rezek with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 14, 2014, the United States Attorney’s Office served Michael White with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 14, 2014, the United States Attorney’s Office served Michelle Longiaro with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

 3 mail was returned to our offices marked “unclaimed.” Notice of Filing Service of Process –

 4 Mailing, ECF No. 621.

 5          On April 14, 2014, the United States Attorney’s Office served Mike Dexter with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 7 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On April 14, 2014, the United States Attorney’s Office served Mitchell Prater with copies

 9 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

10 was returned to our offices after three attempts. Notice of Filing Service of Process – Mailing,

11 ECF No. 621.

12          On April 14, 2014, the United States Attorney’s Office served Nanette and Peter

13 Vanderheyden with copies of the Preliminary Orders of Forfeiture and the Notice through

14 regular mail and certified mail return receipt requested. Notice of Filing Service of Process –

15 Mailing, ECF No. 621.

16          On April 14, 2014, the United States Attorney’s Office served Nathan Baker with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 14, 2014, the United States Attorney’s Office served Patricia Brown with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

21 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 14, 2014, the United States Attorney’s Office served Patricia Clawson with

23 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

24 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

25          On April 14, 2014, the United States Attorney’s Office served Patricia Ellen Schramm

26 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The

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 1 certified mail was returned to our offices after three attempts. Notice of Filing Service of Process

 2 – Mailing, ECF No. 621.

 3          On April 14, 2014, the United States Attorney’s Office served Patricia Markley with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 5 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 6          On April 15, 2014, the United States Attorney’s Office served Patricia White with copies

 7 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

 8 was not returned to our offices. Notice of Filing Service of Process – Mailing, ECF No. 621.
 9          On April 15, 2014, the United States Attorney’s Office served Patrick Hines with copies

10 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

11 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

12          On April 15, 2014, the United States Attorney’s Office served Philip M. Cavanagh with

13 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

14 mail was not returned to our offices. Notice of Filing Service of Process – Mailing, ECF No.

15 621.

16          On April 15, 2014, the United States Attorney’s Office served Priscilla McGuire with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

18 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

19 Mailing, ECF No. 621.
20          On April 15, 2014, the United States Attorney’s Office served Ralph Mora with copies of

21 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

22 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 15, 2014, the United States Attorney’s Office served Randy Kroeplin with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

25 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 15, 2014, the United States Attorney’s Office served Randy Romey with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 15, 2014, the United States Attorney’s Office served Rebecca Weston with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 15, 2014, the United States Attorney’s Office served Reynald Goff with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 15, 2014, the United States Attorney’s Office served Ricardo Cedillos with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

12 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 15, 2014, the United States Attorney’s Office served Richard and Sherri Crowe

14 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

15 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

16 621.

17          On April 15, 2014, the United States Attorney’s Office served Richard C. Spencer with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

19 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 15, 2014, the United States Attorney’s Office served Richard Sheubrock with

21 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

22 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 15, 2014, the United States Attorney’s Office served Robbie Meacham with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

25 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 15, 2014, the United States Attorney’s Office served Robert Adams with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 15, 2014, the United States Attorney’s Office served Robert Griswold with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 15, 2014, the United States Attorney’s Office served Robert Guenther with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 15, 2014, the United States Attorney’s Office served Robert Hall with copies of

11 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was

12 returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 15, 2014, the United States Attorney’s Office served Robert Johnson of

14 Gallatin, TN, with copies of the Preliminary Orders of Forfeiture and the Notice through regular

15 mail and certified mail return receipt requested. Notice of Filing Service of Process – Mailing,

16 ECF No. 621.

17          On April 15, 2014, the United States Attorney’s Office served Robert Johnson of Clifton

18 Park, NY, with copies of the Preliminary Orders of Forfeiture and the Notice through regular

19 mail and certified mail return receipt requested. Notice of Filing Service of Process – Mailing,
20 ECF No. 621.

21          On April 15, 2014, the United States Attorney’s Office served Robert Wood with copies

22 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

23 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

24          On April 15, 2014, the United States Attorney’s Office served Rodney Reichstadt with

25 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
26 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 15, 2014, the United States Attorney’s Office served Roger Dwight with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 15, 2014, the United States Attorney’s Office served Roger Vanden Hoek with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 15, 2014, the United States Attorney’s Office served Rosaria Cipollone with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified
 9 mail was returned to our offices marked “unclaimed.” Notice of Filing Service of Process –

10 Mailing, ECF No. 621.

11          On April 15, 2014, the United States Attorney’s Office served Russell Hawkes with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

13 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On April 15, 2014, the United States Attorney’s Office served Sandy Sanders with copies

15 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

16 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 15, 2014, the United States Attorney’s Office served Scott Austin with copies of

18 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

19 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 15, 2014, the United States Attorney’s Office served Scott Carlos with copies of

21 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

22 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 15, 2014, the United States Attorney’s Office served Scott Vosburgh with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

25 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 15, 2014, the United States Attorney’s Office served Shannon Boots with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 15, 2014, the United States Attorney’s Office served Sharron A. Bowman with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 15, 2014, the United States Attorney’s Office served Sheran Sweet with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 15, 2014, the United States Attorney’s Office served Steve Churchman with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

12 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 15, 2014, the United States Attorney’s Office served Steve Forsythe with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

15 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 15, 2014, the United States Attorney’s Office served Steve Sondley with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 15, 2014, the United States Attorney’s Office served Susan Brown with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

21 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 15, 2014, the United States Attorney’s Office served Tamara D. Sanford with

23 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

24 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

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 1          On April 15, 2014, the United States Attorney’s Office served Tammy Cunningham with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

 3 mail was not returned to our offices. Notice of Filing Service of Process – Mailing, ECF No.

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 5          On April 15, 2014, the United States Attorney’s Office served Tammy Jo Brown with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 7 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On April 15, 2014, the United States Attorney’s Office served Terrance Thomas with

 9 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

10 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

11 Mailing, ECF No. 621.

12          On April 15, 2014, the United States Attorney’s Office served Thomas Gast with copies

13 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

14 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

15          On April 16, 2014, the United States Attorney’s Office served Thomas Hall with copies

16 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

17 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

18          On April 16, 2014, the United States Attorney’s Office served Thomas Walton with

19 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
20 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

21          On April 16, 2014, the United States Attorney’s Office served Tiffany Vandenbosh with

22 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

23 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

24          On April 16, 2014, the United States Attorney’s Office served Timothy Hanousek with

25 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
26 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 16, 2014, the United States Attorney’s Office served Timothy Zick with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served Todd Pirie with copies of

 5 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was

 6 returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 16, 2014, the United States Attorney’s Office served Tony Dawson with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 16, 2014, the United States Attorney’s Office served Tony Willett with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 16, 2014, the United States Attorney’s Office served Tristen Jannusch with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

15 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 16, 2014, the United States Attorney’s Office served Udomsak Talabnak with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

18 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 16, 2014, the United States Attorney’s Office served Vicki Walters with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

21 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 16, 2014, the United States Attorney’s Office served Vickie Lipscomb with

23 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

24 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 16, 2014, the United States Attorney’s Office served Vicky D’Alessandro with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served Victor Puga with copies of

 5 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 6 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 16, 2014, the United States Attorney’s Office served Virginia Kraatz with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 16, 2014, the United States Attorney’s Office served Warren Adams with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

12 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 16, 2014, the United States Attorney’s Office served Wayne Fostin with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

15 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 16, 2014, the United States Attorney’s Office served Wayne Welshons with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

18 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 16, 2014, the United States Attorney’s Office served William Bowery with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

21 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 16, 2014, the United States Attorney’s Office served William Skurkis with

23 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

24 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 16, 2014, the United States Attorney’s Office served Ana R. Moran with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

 3 was not returned to our offices. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served April Weber with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 16, 2014, the United States Attorney’s Office served Barbar Jackson with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 16, 2014, the United States Attorney’s Office served Brian Oliver with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

12 was returned to our offices after three attempts. Notice of Filing Service of Process – Mailing,

13 ECF No. 621.

14          On April 16, 2014, the United States Attorney’s Office served Carie Summers with

15 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

16 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 16, 2014, the United States Attorney’s Office served Chase Tjelmeland with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

19 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 16, 2014, the United States Attorney’s Office served Daniel James Summers

21 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

22 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

23 621.

24          On April 16, 2014, the United States Attorney’s Office served Dave and Kelly King with

25 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
26 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 16, 2014, the United States Attorney’s Office served David Flores with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served Deena Duncan with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 16, 2014, the United States Attorney’s Office served Dustin Hite with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return
 9 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 16, 2014, the United States Attorney’s Office served Edward Cutter with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 16, 2014, the United States Attorney’s Office served Emilio Crocco with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

15 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 16, 2014, the United States Attorney’s Office served Enrique Centeno with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

18 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 16, 2014, the United States Attorney’s Office served Felipe Rea with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail was

21 returned to our offices as “unclaimed.” Notice of Filing Service of Process – Mailing, ECF No.

22 621.

23          On April 16, 2014, the United States Attorney’s Office served Gary Catron with copies of

24 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

25 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 16, 2014, the United States Attorney’s Office served Gary Filla with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 3 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served Jason Stephens with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

 6 mail was returned to our offices marked “unclaimed.” Notice of Filing Service of Process –

 7 Mailing, ECF No. 621.

 8          On April 16, 2014, the United States Attorney’s Office served John Ogburn with copies

 9 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

10 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

11          On April 16, 2014, the United States Attorney’s Office served Jonathan Chapman with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

13 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

14 Mailing, ECF No. 621.

15          On April 16, 2014, the United States Attorney’s Office served Kent Lyons with copies of

16 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

17 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

18          On April 16, 2014, the United States Attorney’s Office served L. Reisner with copies of

19 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return
20 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

21          On April 16, 2014, the United States Attorney’s Office served Lajoy Lindsey-Hanohano

22 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

23 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

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 1          On April 16, 2014, the United States Attorney’s Office served Lawrence Jutz with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 3 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served Mary Mostyn with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 16, 2014, the United States Attorney’s Office served Melissa Wang with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 16, 2014, the United States Attorney’s Office served Raphael Boyce with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

12 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 16, 2014, the United States Attorney’s Office served Richard Cirrcione with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

15 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 16, 2014, the United States Attorney’s Office served Scott N. Einfalt with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

18 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 16, 2014, the United States Attorney’s Office served Sean Pennington with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

21 mail was returned to our offices after three attempts. Notice of Filing Service of Process –

22 Mailing, ECF No. 621.

23          On April 16, 2014, the United States Attorney’s Office served Shelbi McQuary with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

25 mail was returned to our offices after three attempts. Notice of Filing Service of Process –
26 Mailing, ECF No. 621.

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 1          On April 16, 2014, the United States Attorney’s Office served Steve Piribauer with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 16, 2014, the United States Attorney’s Office served Tobi Hartley with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 16, 2014, the United States Attorney’s Office served Tonya L. Vanmeter with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 16, 2014, the United States Attorney’s Office served Veronica Gallardo with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

12 mail was returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No.

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14          On April 16, 2014, the United States Attorney’s Office served Roy Jaime Laureano with

15 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

16 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 16, 2014, the United States Attorney’s Office served Johnny Christian with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

19 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 16, 2014, the United States Attorney’s Office served Jennifer Julian with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 16, 2014, the United States Attorney’s Office served James Houghton with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

25 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 16, 2014, the United States Attorney’s Office served Myra Louise Sharpless

 2 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

 3 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

 4 621.

 5          On April 16, 2014, the United States Attorney’s Office served Charles Deppert with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 7 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On April 16, 2014, the United States Attorney’s Office served Kristy Halvorson with

 9 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

10 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

11          On April 16, 2014, the United States Attorney’s Office served Ellis McMillan with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

13 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On April 16, 2014, the United States Attorney’s Office served Heather Turbyfill with

15 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

16 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On April 16, 2014, the United States Attorney’s Office served Faezeh A. Eduljee with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

19 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On April 16, 2014, the United States Attorney’s Office served Krystal Taylor with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On or about April 17, 2014, the United States Attorney’s Office attempted to serve

24 Denica Edge-Williams with copies of the Preliminary Orders of Forfeiture and the Notice. The

25 mail was returned stating “No Mail Receptacle”. Notice of Filing Service of Process – Mailing,
26 ECF No. 621.

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 1          On April 24, 2014, the United States Attorney’s Office served Ciera Diaz with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 3 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 24, 2014, the United States Attorney’s Office served Steven E. Kelly with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On or about May 1, 2014, the United States Attorney’s Office attempted to serve Jillian

 8 Felt with copies of the Preliminary Orders of Forfeiture and the Notice. The mail was returned
 9 stating “No Mail Receptacle”. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 24, 2014, the United States Attorney’s Office served Lenora Jackson with

11 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

12 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 24, 2014, the United States Attorney’s Office served Blake Gill with copies of

14 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

15 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 24, 2014, the United States Attorney’s Office served Debrah Evans with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 25, 2014, the United States Attorney’s Office served Lonnie Bailey with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

21 was returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 25, 2014, the United States Attorney’s Office served Eschol Batts with copies

23 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

24 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

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 1          On April 25, 2014, the United States Attorney’s Office served Jennifer Harrell with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 25, 2014, the United States Attorney’s Office served Sonny Detrick with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 25, 2014, the United States Attorney’s Office served Monty Sewell with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail
 9 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 25, 2014, the United States Attorney’s Office served Aram Rezian with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 25, 2014, the United States Attorney’s Office served Mark Reed with copies of

14 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

15 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 25, 2014, the United States Attorney’s Office served Adam and Abrianne Fasig

17 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

18 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

19 621.
20          On April 25, 2014, the United States Attorney’s Office served Joseph Smolar with copies

21 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

22 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On April 29, 2014, the United States Attorney’s Office served Ashley Miller with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

25 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On April 29, 2014, the United States Attorney’s Office served Derek C. Darling with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 4          On April 29, 2014, the United States Attorney’s Office served Kathy Murray with copies

 5 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 6 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 7          On April 29, 2014, the United States Attorney’s Office served Leonardo Lozano with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

10          On April 29, 2014, the United States Attorney’s Office served Mary Gleason with copies

11 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

12 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On April 29, 2014, the United States Attorney’s Office served Melinda Rogers with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

15 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

16          On April 29, 2014, the United States Attorney’s Office served Patricia Lavan with copies

17 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

18 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

19          On April 29, 2014, the United States Attorney’s Office served Roderick Baccus with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

21 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

22          On April 29, 2014, the United States Attorney’s Office served William Martin with

23 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

24 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

25          On April 29, 2014, the United States Attorney’s Office served Dennis J. Landowski with

26 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

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 1 mail was returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No.

 2 621.

 3          On April 29, 2014, the United States Attorney’s Office served Peter Keller with copies of

 4 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

 5 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 6          On April 29, 2014, the United States Attorney’s Office served Colitta Lumpkin with

 7 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

 8 mail was returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No.
 9 621.

10          On May 8, 2014, the United States Attorney’s Office served Gerald Byers with copies of

11 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

12 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

13          On May 8, 2014, the United States Attorney’s Office served Elizabeth Rogers with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

15 mail was returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No.

16 621.

17          On May 8, 2014, the United States Attorney’s Office served Ben Fairley with copies of

18 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

19 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On May 8, 2014, the United States Attorney’s Office served Ashley Vanderver with

21 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

22 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On May 8, 2014, the United States Attorney’s Office served Christine Carter with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

25 was returned “unclaimed.” Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On May 14, 2014, the United States Attorney’s Office served Javier Barrera Guerrero

 2 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

 3 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

 4 621.

 5          On May 14, 2014, the United States Attorney’s Office served Chris Buckley with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

 7 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

 8          On May 14, 2014, the United States Attorney’s Office served Narayan Singh KC with

 9 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

10 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

11          On May 14, 2014, the United States Attorney’s Office served Tina York with copies of

12 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

13 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

14          On May 15, 2014, the United States Attorney’s Office served Ronnie Spradlin with

15 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

16 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

17          On May 15, 2014, the United States Attorney’s Office served Alisha A. Rich with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified mail

19 was returned after three attempts. Notice of Filing Service of Process – Mailing, ECF No. 621.
20          On May 27, 2014, the United States Attorney’s Office served Kena Revell with copies of

21 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

22 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 621.

23          On May 29, 2014, the United States Attorney’s Office served Selena Williams with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail. The certified

25 mail was returned “unclaimed”. Notice of Filing Service of Process – Mailing, ECF No. 621.
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 1          On May 12, 2014, the United States Attorney’s Office served Albert Millis via Federal

 2 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

 3 Process – Mailing, ECF No. 621.

 4          On May 12, 2014, the United States Attorney’s Office served Jiayuan Lou via Federal

 5 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

 6 Process – Mailing, ECF No. 621.

 7          On May 12, 2014, the United States Attorney’s Office served Tom Dinna via Federal

 8 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of
 9 Process – Mailing, ECF No. 621.

10          On May 12, 2014, the United States Attorney’s Office served Robert Holland via Federal

11 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

12 Process – Mailing, ECF No. 621.

13          On May 12, 2014, the United States Attorney’s Office served Andres Angulo via Federal

14 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

15 Process – Mailing, ECF No. 621.

16          On May 12, 2014, the United States Attorney’s Office served Brian Bichener via Federal

17 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

18 Process – Mailing, ECF No. 621.

19          On May 12, 2014, the United States Attorney’s Office served Daniel Lang via Federal

20 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

21 Process – Mailing, ECF No. 621.

22          On May 12, 2014, the United States Attorney’s Office served Deoram Bachman via

23 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

24 of Process – Mailing, ECF No. 621.

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 1          On May 12, 2014, the United States Attorney’s Office served Dustin Fernandes via

 2 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

 3 of Process – Mailing, ECF No. 621.

 4          On May 12, 2014, the United States Attorney’s Office served George Thompson via

 5 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

 6 of Process – Mailing, ECF No. 621.

 7          On May 12, 2014, the United States Attorney’s Office served Harold Ochsner via Federal

 8 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of
 9 Process – Mailing, ECF No. 621.

10          On May 12, 2014, the United States Attorney’s Office served Judy Duro via Federal

11 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

12 Process – Mailing, ECF No. 621.

13          On May 12, 2014, the United States Attorney’s Office served Corey W. Shaw via Federal

14 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

15 Process – Mailing, ECF No. 621.

16          On May 12, 2014, the United States Attorney’s Office served Jenny Wong via Federal

17 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

18 Process – Mailing, ECF No. 621.

19          On May 12, 2014, the United States Attorney’s Office served Louis Pinsonneault via

20 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

21 of Process – Mailing, ECF No. 621.

22          On May 12, 2014, the United States Attorney’s Office served Boris Smudja via Federal

23 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of

24 Process – Mailing, ECF No. 621.

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 1          On May 12, 2014, the United States Attorney’s Office served Jovan Vranijkovic via

 2 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

 3 of Process – Mailing, ECF No. 621.

 4          On May 12, 2014, the United States Attorney’s Office served Wei Chien Chih via

 5 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

 6 of Process – Mailing, ECF No. 621.

 7          On May 12, 2014, the United States Attorney’s Office served Ivan Vanca via Federal

 8 Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of
 9 Process – Mailing, ECF No. 621.

10          On May 12, 2014, the United States Attorney’s Office served Jack McGee Chevrolet via

11 Federal Express with the Notice and Preliminary Orders of Forfeiture. Notice of Filing Service

12 of Process – Mailing, ECF No. 621.

13          On February 5, 2014, the United States Attorney’s Office served Allen Barilleaux with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

15 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

16          On February 5, 2014, the United States Attorney’s Office served Joshua Bergman with

17 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

18 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

19          On February 5, 2014, the United States Attorney’s Office served Joan and Clifford

20 Beverly with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail

21 and certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF

22 No. 625.

23          On February 5, 2014, the United States Attorney’s Office served Chris Deprez with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

25 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.
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 1          On February 5, 2014, the United States Attorney’s Office served James Joseph Dills with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 3 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

 4          On February 5, 2014, the United States Attorney’s Office served Carolyn Doucette with

 5 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

 6 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

 7          On February 5, 2014, the United States Attorney’s Office served David Farber with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified
 9 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

10          On February 5, 2014, the United States Attorney’s Office served German Vehicle

11 Services, Inc., with copies of the Preliminary Orders of Forfeiture and the Notice through regular

12 mail and certified mail return receipt requested. Notice of Filing Service of Process – Mailing,

13 ECF No. 625.

14          On February 5, 2014, the United States Attorney’s Office served Kysla Geroux with

15 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

16 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

17          On February 5, 2014, the United States Attorney’s Office served Shawna Jasper with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

19 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.
20          On February 5, 2014, the United States Attorney’s Office served Chris Jepsen with

21 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

22 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

23          On February 5, 2014, the United States Attorney’s Office served Josee Nugent with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

25 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.
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 1          On February 5, 2014, the United States Attorney’s Office served Robert and Kay Ostram

 2 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

 3 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

 4 625.

 5          On February 5, 2014, the United States Attorney’s Office served Kenneth Wayne Seabolt

 6 with copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and

 7 certified mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No.

 8 625.
 9          On February 5, 2014, the United States Attorney’s Office served Will Senst with copies

10 of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail

11 return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

12          On February 5, 2014, the United States Attorney’s Office served Yulid Steenhoek with

13 copies of the Preliminary Orders of Forfeiture and the Notice through regular mail and certified

14 mail return receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

15          On February 5, 2014, the United States Attorney’s Office served Jim West with copies of

16 the Preliminary Orders of Forfeiture and the Notice through regular mail and certified mail return

17 receipt requested. Notice of Filing Service of Process – Mailing, ECF No. 625.

18          On February 5, 2014, Bojidar Stoytchev filed a Petition (ECF No. 522).

19          On February 24, 2014, the United States filed a Motion to Strike the Claim of Bojidar

20 Stoytchev (ECF No. 528).

21          On May 13, 2014, the Court entered an order granting the Government’s Motion to Strike

22 the Claim of Bojidar Stoytchev (ECF No. 606).

23          On April 21, 2014, Mariya Yunkerova-Nedyalkova and Atanas Nedyalkov filed a

24 Petition Requesting a Hearing Pursuant to Claim Against Property to be Forfeited (ECF No.

25 599).
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 1          On October 24, 2017, the United States filed a proposed Stipulation and Settlement

 2 Agreement for Final Order of Forfeiture as to Mariya Nedyalkova and Atanas Nedyalkov, and

 3 Order (ECF No. 728).

 4          On October 26, 2017, the Court entered an order granting the Stipulation and Settlement

 5 Agreement for Final Order of Forfeiture as to Mariya Nedyalkova and Atanas Nedyalkov (ECF

 6 No. 730).

 7          On May 2, 2014, Peter J. and Nannette M. Vanderheyden filed a Petition for a Hearing

 8 re: Preliminary Order of Forfeiture (ECF No. 603).
 9          On July 15, 2014, the United States filed a proposed Settlement Agreement Resolving

10 Third-Party Claim and Agreeing to Judgment of Forfeiture as to Peter J. and Nannette M.

11 Vanderheyden, and Order (ECF No. 617).

12          On July 18, 2014, the Court entered an order granting the Settlement Agreement

13 Resolving Third-Party Claim and Agreeing to Judgment of Forfeiture as to Peter and Nannette

14 Vanderheyden (ECF No. 618).

15          On August 26, 2014, the United States filed a proposed Settlement Agreement Resolving

16 Third-Party Claim and Agreeing to Judgment of Forfeiture as to Deena Duncan, and Order (ECF

17 No. 622).

18          On August 27, 2014, the Court entered an order granting the Settlement Agreement

19 Resolving Third-Party Claim and Agreeing to Judgment of Forfeiture as to Deena Duncan (ECF
20 No. 623).

21          This Court finds no other petition was filed herein by or on behalf of any person or entity

22 and the time for filing such petitions and claims has expired.

23          This Court finds no petitions are pending with regard to the property named herein and

24 the time for presenting such petitions has expired.

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 1          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all

 2 right, title, and interest in the property hereinafter described is condemned, forfeited, and vested

 3 in the United States of America:

 4           1. $350.00 (received from Vladimir Budestean);

 5           2. $200.00 (received from Vladimir Budestean);

 6           3. $3.04 (recovered from 2002 Mercedes CLK 55, Budestean);

 7           4. $2,155.00 seized during search of 4225 Dover Place, Las Vegas, NV residence of

 8               Budestean and Nedyalkova;

 9           5. Currency on Eugeni Stoytchev at time of arrest: $2,512.00 United States Currency; 1-

10               $0.50 euro coin (valued at $0.65 U.S.); 1-$l0 Bulgarian Leva (valued at $6.68 U.S.);

11               1-$2 Bulgarian Leva (valued at $1.34 U.S.); 4-$1 Bulgarian Leva (valued at $3.67

12               U.S.); 1-$0.50 Bulgarian Stotinki (valued at $0.33 U.S.); 3-$0.20 Bulgarian Stotinki

13               (valued at $.40 U.S.);10-10 denomination Bulgarian Stotinki (valued at $0.67 U.S.);

14           6. $25,000 in United States Currency in lieu of real property located at 4225 Dover

15               Place, Las Vegas, Nevada (residential home, Clark County Parcel No. 139-31-411-

16               l09); Owners: Vladimir Budestean and Mariya Yunkerova-Nedyalkova;

17           7. Samsung Television (Serial Number LN46B55OK1F w/stand, power cord, remote

18               and cables) (consent search of Oleh Rymarchuk's residence);

19           8. Laptop Macbook Air (serial #C02GMBLPDJWV) (consent search of Oleh

20               Rymarchuk's residence);

21           9. Laptop Macbook Pro (serial #C02GD1VPDV7L) (consent search of Oleh

22               Rymarchuk's residence);

23           10. Powershot A603 w/case (Serial #4136204571) (consent search of Oleh Rymarchuk's

24               residence); and

25           11. Red Cobra Model #CA-380 .380 caliber pistol (Serial #CP042369 (seized from

26               Bertly Ellazar's residence)

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 1 (all of which constitutes property); and

 2          that the United States recover from Eduard Petroiu, Vladimir Budestean, Bertly Ellazar,

 3 Evgeny Krylov, Melanie Pascua, and Michael Vales the in personam criminal forfeiture money

 4 judgment of $3,000,000; from Evghenii Russu an in personam criminal forfeiture money

 5 judgment of $323,000; from Delyana Nedyalkova an in personam criminal forfeiture money

 6 judgment of $84,000; and from Manuel Garza an in personam criminal forfeiture money

 7 judgment of $140,000, and that the property will not be applied toward the payment of the

 8 money judgment; and
 9          the forfeiture of the money judgment and the property is imposed pursuant to Fed. R.

10 Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P. 32.2(c)(2); Title 18, United States Code,

11 Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 21, United States

12 Code, Section 853(p); and Title 21, United States Code, Section 853(n)(7); that the money

13 judgment shall be collected; and that the property and the collected amount shall be disposed of

14 according to law.

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

16 funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well

17 as any income derived as a result of the United States of America’s management of any property

18 forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of

19 according to law.
20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

21 of this Order to all counsel of record and three certified copies to the United States Attorney’s

22 Office, Attention Asset Forfeiture Unit.

23                                  November
            DATED this ___ day of ________________, 2017.

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26                                                UNITED STATES DISTRICT JUDGE
                                                  LLOYD D. GEORGE
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